\ Case 2:02-cv-02177-.]PI\/|-STA Document 84 Filed 06/01/05 Page 10f2 Page|D 161

 

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IN THE UNITED STATES DISTRICT CoURT Fu.r-:D B
FOR THE WESTERN DISTRICT oF TENNESSEE 5 JUN _\ pg L,'. 06
WESTERN DIVISION 0
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DoNALD R_ DePRIEST, W-D- GF TN` “
Plaimiff,
v. Civil Action No. 02-2177 Ml/An
ELLEN H. HARDYMON, and
MSB FINANCIAL SERVICES
CORPORATION,
Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR ORDER
THAT TIME TO FILE APPEAL RUNS FROM ENTRY OF
ORDER DISPOSING OF MOTION FOR ATTORNEYS’ FEES

 

BEFORE THE COURT is Plaintifl’ S Motion for Order that Time to File Appeal Runs from

Entry of Orcler Disposing of Motion for Attorneys’ Fees.

The Defendants have no objection to the requested relief, and THE COURT FINDS that the

Motion is well taken. THE COURT therefore ORDERS that the time for any party to file a notice

of appeal herein Shall run from the date of entry of the Court’s ruling on Defendant MSB Financial

Services Corporation’S Motion for Attomeys’ Fees.

50 oRDEREDthiS l day of/QW\M ,2005.

 

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UNI ED STATES DISTRICT JUDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:02-CV-02177 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable .l on McCalla
US DISTRICT COURT

